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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                   8:06CR116
       vs.                                  )
                                            )                     ORDER
EVEREADA KOURIS,                            )
                                            )
                     Defendant.             )



       This matter is before the court on defendant's unopposed M OTION TO CONTINUE
FILING OF PRETRIAL MOTIONS [63]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 14-day extension. Pretrial Motions
shall be filed by July 31, 2006.

       IT IS ORDERED:

      1.    Defendant's MOTION TO CONTINUE FILING OF PRETRIAL MOTIONS [63] is
granted. Pretrial motions shall be filed on or before July 31, 2006.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between July 17,
2006 and July 31, 2006, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 17th day of July, 2006.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
